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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   CHRISTINA DEANNE ALEXANDER
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11
     UNITED STATES OF AMERICA,          )   NO. CR-S-07-0463 GEB
12                                      )
                     Plaintiff,         )   STIPULATION AND [PROPOSED] ORDER
13                                      )   CONTINUING STATUS CONFERENCE
          v.                            )
14                                      )
     CHRISTINA DEANNE ALEXANDER,        )   Date: December 7, 2007
15   et al.,                            )   Time: 9:00 a.m.
                                        )   Judge: Hon. Garland E. Burrell,
16                   Defendants.        )          Jr.
                                        )
17   _______________________________
18
19        It is hereby stipulated and agreed to between the United States of
20   America through Russell L. Carlberg (by John Vincent), Assistant United
21   States Attorney, CHRISTINA DEANNE ALEXANDER, by and through her counsel
22   Matthew C. Bockmon, Assistant Federal Defender, and STEVEN CHRISTOPHER
23   FLOCK, by and through his counsel Dina Lee Santos, that the status
24   conference presently scheduled for November 30, 2007, be vacated and
25   rescheduled for status conference on December 7, 2007, at 9:00 a.m.
26        This continuance is being requested because of on-going defense
27   investigation and preparation.
28        IT IS FURTHER STIPULATED that the period from November 30, 2007,
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 1   through and including December 7, 2007, be excluded in computing the
 2   time within which trial must commence under the Speedy Trial Act,
 3   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for
 4   continuity and preparation of counsel.
 5   Dated: November 29, 2007
                                               Respectfully submitted,
 6
                                               DANIEL J. BRODERICK
 7                                             Federal Defender
 8                                             /s/ Matthew C. Bockmon
                                               ________________________________
 9                                             MATTHEW C. BOCKMON
                                               Assistant Federal Defender
10                                             Attorney for Defendant
                                               CHRISTINA DEANNE ALEXANDER
11
12
                                               /s/ Matthew C. Bockmon for
13                                             ________________________________
                                               DINA LEE SANTOS
14                                             Attorney for Defendant
                                               STEVEN CHRISTOPHER FLOCK
15
16   Dated: November 29, 2007
17                                             MCGREGOR W. SCOTT
                                               United States Attorney
18
                                               /s/ Matthew C. Bockmon for
19                                             ________________________________
                                               RUSSELL L. CARLBERG
20                                             Assistant U.S. Attorney
                                               per telephonic authority
21                                             (of John Vincent)
22
                                          O R D E R
23
     IT IS SO ORDERED.
24
25   Dated:    November 30, 2007

26
27                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
28


     Stip & Order                              2
